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                           UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF COLORADO


    UNITED STATES OF AMERICA,                     District Court No. 17-cr-00334-CMA

           Plaintiff-Appellee,                    Court of Appeals No. 18-1057
    v.

    MARCO CASTRO-CRUZ                             DESIGNATION OF RECORD ON APPEAL

           Defendant-Appellant.

NOTE: THIS DESIGNATION FORM MUST BE COMPLETED AND FILED IN
ACCORDANCE WITH THE INSTRUCTIONS ON THE REVERSE SIDE OF THE
FORM.

       Those original papers which have been designated by circling their respective docket
numbers (or dates of entry) on the attached copy of the district court’s docket sheets should be
included in the record on appeal prepared by the clerk of the district court and transmitted to
the clerk of the court of appeals. (If the district court clerk so elects, original papers may be
retained in the district court and copies thereof may be included in the record on appeal.)
       The following items should also be included in the record on appeal. (Portions of
transcripts should be designated by hearing dates and page numbers.)

    1. Docket entries as designated

    2. Pre-sentence Investigation Report and all addenda thereto

    3. Judgment of Conviction in a Criminal Case – Case No. 14-cr-144-CM (Doc. # 2135)

    4. Transcripts of Change of Plea Hearings (09-20-17)

    5. Transcript of Sentencing Hearing (02-06-18)
                            (Attach additional sheets if necessary)

                                   Signature: s/Boston H. Stanton, Jr.

                                   Counsel for: Defendant/Appellant Marco Castro-Cruz

I hereby certify that a copy of this designation, with docket sheets attached, was provided to
opposing counsel and to and the clerk of the court of appeals on February 28, 2018

Signature: s/Boston H. Stanton, Jr.
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                                                                        APPEAL,INTERPRETER,TERMED
                   U.S. District Court − District of Colorado
                         District of Colorado (Denver)
       CRIMINAL DOCKET FOR CASE #: 1:17−cr−00334−CMA All Defendants

  Case title: USA v. Castro−Cruz                                  Date Filed: 09/19/2017
  Other court case number: 2:14cr00007ABJ1 District of            Date Terminated: 02/06/2018
                            Wyoming

  Assigned to: Judge Christine M.
  Arguello

  Defendant (1)
  Marco Castro−Cruz                     represented by Boston H. Stanton , Jr.
  TERMINATED: 02/06/2018                               Boston H. Stanton, Jr, Attorney at Law
  also known as                                        P.O. Box 200507
  Juan Ramirez−Perez                                   Denver, CO 80220
  TERMINATED: 02/06/2018                               303−377−2757
  also known as                                        Fax: 303−394−0204
  Guero                                                Email: bostonhs@comcast.net
  TERMINATED: 02/06/2018                               LEAD ATTORNEY
                                                       ATTORNEY TO BE NOTICED
                                                       Designation: CJA Appointment

  Pending Counts                                         Disposition
                                                         Defendant committed to the custody of the Federal
                                                         Bureau of Prisons to be imprisoned for a total term
                                                         of TWO HUNDRED FORTY (240) MONTHS to
  21 U.S.C. §§ 846 and 841(a)(1)                         run concurrent to the sentence imposed in U.S.
  and (b)(1)(C) Conspiracy to                            District Court, District of Colorado Case Number
  Distribute Heroin Resulting in                         14−cr−00144−CMA−4. Supervised Release of
  Death                                                  THREE (3) YEARS to run concurrent to the
  (1)                                                    sentence imposed in U.S. District Court, District of
                                                         Colorado Case Number 14−cr−00144−CMA−4.
                                                         Special Assessment of $100.00

  Highest Offense Level (Opening)
  Felony

  Terminated Counts                                      Disposition
  21 U.S.C. § 841(a)(1) and
  (b)(1)(C) and 18 U.S.C. § 2
  Aiding and Abetting the                                Dismissed on Motion of the Government
  Distribution of Heroin Resulting in
  Death
  (2)

  Highest Offense Level
  (Terminated)
  Felony

  Complaints                                             Disposition
  None
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  Plaintiff
  USA                                          represented by Barbara Suzanne Skalla
                                                              U.S. Attorney's Office−Denver
                                                              1801 California Street
                                                              Suite 1600
                                                              Denver, CO 80202
                                                              303−454−0311
                                                              Fax: 303−454−0401
                                                              Email: barbara.skalla@usdoj.gov
                                                              LEAD ATTORNEY
                                                              ATTORNEY TO BE NOTICED
                                                              Designation: Federal Agency Attorney

                                                              Guy Till
                                                              U.S. Attorney's Office−Denver
                                                              1801 California Street
                                                              Suite 1600
                                                              Denver, CO 80202
                                                              303−454−0100
                                                              Fax: 303−454−0409
                                                              Email: guy.till@usdoj.gov
                                                              LEAD ATTORNEY
                                                              ATTORNEY TO BE NOTICED
                                                              Designation: Federal Agency Attorney

                                                              Bradley William Giles
                                                              U.S. Attorney's Office−Denver
                                                              1801 California Street
                                                              Suite 1600
                                                              Denver, CO 80202
                                                              303−454−0122
                                                              Fax: 303−454−0409
                                                              Email: bradley.giles@usdoj.gov
                                                              ATTORNEY TO BE NOTICED
                                                              Designation: Federal Agency Attorney

   Date Filed   #   Docket Text
   09/19/2017   1 CONSENT TO TRANSFER JURISDICTION (Rule 20) from District of Wyoming as
                  to Marco Castro−Cruz. (Attachments: # 1 Indictment, # 2 Penalty Sheet, # 3 Docket
                  Sheet)(athom, ) (Entered: 09/19/2017)
   09/19/2017   2 MINUTE ORDER as to Marco Castro−Cruz on 09/19/2017. Initial Appearance,
                  Arraignment, and Change of Plea Hearing set for 9/20/2017 at 11:00 AM in
                  Courtroom A 602 before Judge Christine M. Arguello pursuant to 1 CONSENT TO
                  TRANSFER JURISDICTION (Rule 20). Text Only Entry (athom, ) (Entered:
                  09/19/2017)
   09/20/2017   3 MINUTE ENTRY for proceedings held before Judge Christine M. Arguello: Initial
                  Appearance, Arraignment, and Change of Plea Hearing as to Marco Castro−Cruz held
                  on 9/20/2017. ORDERED: GRANTING Government's oral motion to dismiss Count 2
                  of the Indictment; Boston Stanton appointed to represent Defendant. Plea entered by
                  Defendant, Guilty as to Count 1 of the Indictment. Sentencing set for 2/6/2018 10:00
                  AM in Courtroom A 602 before Judge Christine M. Arguello. All other dates are
                  vacated and any pending motions are denied as moot. The US Probation Office shall
                  prepare a Presentence Report. Counsel shall file their sentencing positions and all
                  motions at least 14 days before the sentencing date; responses or objections shall be
                  filed no later than 7 days before the sentencing date. Failure to timely file these
                  pleadings may result in a continuance of the sentencing date. Defendant present in
                  custody; Defendant remanded. (Total time: 34 Minutes, Hearing time: 11:04 a.m. −−
                  12:12 p.m. −− split time with Case No. 14−cr−00144−CMA−04)

                    APPEARANCES: Guy Till and Barbara Skalla on behalf of the Government; Boston
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                    Stanton on behalf of the Defendant. ALSO PRESENT: Wyoming CJA Defense
                    Counsel Sean Barrett; Detective Nick Werth; IRS Special Agent Chad Eichelberger.
                    Court Reporter: Darlene Martinez. Interpreter: David Lauman. (swest) Text Only
                    Entry (Entered: 09/20/2017)
   09/20/2017    4 PLEA AGREEMENT as to Marco Castro−Cruz. (swest) (Entered: 09/20/2017)
   09/20/2017    5 STATEMENT IN ADVANCE OF PLEA OF GUILTY by Defendant Marco
                   Castro−Cruz. (swest) (Entered: 09/20/2017)
   09/21/2017    6 NOTICE OF ATTORNEY APPEARANCE: Boston H. Stanton, Jr appearing for
                   Marco Castro−Cruz (Stanton, Boston) (Entered: 09/21/2017)
   12/15/2017    7 ORDER as to Marco Castro−Cruz: Sentencing set for 2/6/2018 is VACATED and
                   RESET to 1/18/2018, at 02:00 PM in Courtroom A 602 before Judge Christine M.
                   Arguello. SO ORDERED by Judge Christine M. Arguello on 12/15/2017. Text Only
                   Entry (cmasec) (Entered: 12/15/2017)
   12/15/2017    8 RESTRICTED PRESENTENCE REPORT first disclosure for attorney review as to
                   Marco Castro−Cruz (ntaka) (Entered: 12/15/2017)
   12/28/2017    9 OBJECTION/RESPONSE to Presentence Report by Marco Castro−Cruz (Stanton,
                   Boston) (Entered: 12/28/2017)
   01/08/2018   10 REPLY by USA as to Marco Castro−Cruz to 9 Objection/Response to Presentence
                   Report (Till, Guy) (Entered: 01/08/2018)
   01/09/2018   11 RESTRICTED PRESENTENCE REPORT as to Marco Castro−Cruz (Attachments: #
                   1 Exhibit A)(srich, ) (Entered: 01/09/2018)
   01/09/2018   12 RESTRICTED ADDENDUM to Presentence Report 11 as to Marco Castro−Cruz
                   (srich, ) (Entered: 01/09/2018)
   01/12/2018   13 Utility Setting/Resetting Deadlines/Hearings as to Marco Castro−Cruz: Sentencing set
                   for 1/18/2018 is VACATED and RESET to 2/5/2018 09:00 AM in Courtroom A 602
                   before Judge Christine M. Arguello pursuant to Minutes in Case No. 14−cr−00144−04.
                   Text Only Entry (swest) (Entered: 01/12/2018)
   01/22/2018   14 MOTION for Non−Guideline Sentence And Sentencing Memorandum by Marco
                   Castro−Cruz. (Attachments: # 1 Exhibit, # 2 Exhibit)(Stanton, Boston) (Entered:
                   01/22/2018)
   01/30/2018   15 NOTICE OF ATTORNEY APPEARANCE Guy Till appearing for USA. AS SPECIAL
                   ATTORNEY TO THE ATTORNEY GENERAL (Attachments: # 1 Continuation of Main
                   Document Attachment)(Till, Guy) (Entered: 01/30/2018)
   02/02/2018   16 NOTICE OF ATTORNEY APPEARANCE Bradley William Giles appearing for
                   USA. Attorney Bradley William Giles added to party USA(pty:pla) (Attachments: # 1
                   Continuation of Main Document)(Giles, Bradley) (Entered: 02/02/2018)
   02/02/2018   17 MOTION to Dismiss Counts TWO OF THE INDICTMENT by USA as to Marco
                   Castro−Cruz. (Giles, Bradley) (Entered: 02/02/2018)
   02/05/2018   18 STRICKEN by record made on 2/5/2018 − Miscellaneous Motions filed by Marco
                   Castro−Cruz. (cthom, ) Modified on 2/5/2018 (cmasec). (Entered: 02/05/2018)
   02/05/2018   19 MINUTE ENTRY for proceedings held before Judge Christine M. Arguello:
                   Sentencing held on 2/5/2018 as to Defendant Marco Castro−Cruz. ORDERED
                   GRANTING 17 Government's Motion to Dismiss Counts; GRANTING 14
                   Defendant's Motion for Non−Guideline Sentence. Defendant sentenced as reflected on
                   the record. Defendant present in custody; Defendant remanded. Total time: 45
                   Minutes, Hearing time: 9:04 a.m. − 10:35 a.m.) (Time split with 14−cr−00144).

                    APPEARANCES: Bradley Giles and Barbara Skala on behalf of the Government ;
                    Boston Stanton and Sean Barrett on behalf of the Defendant ; Michelle Means on
                    behalf of Probation. Court Reporter: Janet Coppock. Interpreter: Cathy Bahr and
                    Susana Cahill. (swest) Text Only Entry (Entered: 02/05/2018)
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   02/06/2018   20 JUDGMENT as to defendant Marco Castro−Cruz (1): Count 1, Defendant committed
                   to the custody of the Federal Bureau of Prisons to be imprisoned for a total term of
                   TWO HUNDRED FORTY (240) MONTHS to run concurrent to the sentence imposed
                   in U.S. District Court, District of Colorado Case Number 14−cr−00144−CMA−4.
                   Supervised Release of THREE (3) YEARS to run concurrent to the sentence imposed
                   in U.S. District Court, District of Colorado Case Number 14−cr−00144−CMA−4.
                   Special Assessment of $100.00. Count 2, Dismissed on Motion of the Government. SO
                   ORDERED by Judge Christine M. Arguello on 2/6/2018. (cmasec) (Entered:
                   02/06/2018)
   02/06/2018   21 STATEMENT OF REASONS as to Marco Castro−Cruz. (cmasec) (Entered:
                   02/06/2018)
   02/13/2018   22 NOTICE OF APPEAL re 20 Judgment, by Marco Castro−Cruz. (Stanton, Boston)
                   Modified on 2/14/2018 to create linkage (athom, ). (Entered: 02/13/2018)
